LAW OFFICE OF

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November 25, 2021

Via: email

Warden S. Napier
FPC Alderson

1 Glen Ray Road
Alderson, WV 24910

Re: Medical Care — inmate Natalie Mayflower Sours Edwards,
Reg. #92703-083

Dear Warden Napier:

| am counsel for inmate Natalie Mayflower Sours Edwards (Reg. # 92703-
083). | write to request immediate assistance for my disabled client, Natalie
Mayflower Sours Edwards. Dr. Edwards advises me that prior to her arrival at
FPC Alderson, she was prescribed a hearing aid by Dr. Hill, an audiologist in the
Mechanicsville, Virginia area. Dr. Edwards brought the hearing aid and related
equipment (sensors, extra batteries) with her when she surrendered. She was
told she could not bring those items into the facility but had to meet with the
provider at Alderson to obtain a hearing aid. The batteries that Alderson has
provided have never functioned properly. On November 12, 2021, a piece of the
hearing aid detached and got stuck in Dr. Edwards’ ear. She was seen by health
services provider Dr. Dickenson at Alderson, and the piece was removed. The
piece again detached that same day and again had to be removed. While this
problem was solved for the time being, the batteries provided with the hearing aid
are beyond their expiration dates, which she advises me are 2016 and 2017,
respectively. The batteries no longer hold a charge for any length of time. Dr.
Edwards now is essentially without a working hearing aid. This prevents her from
functioning normally in the prison environment and from participating in programs
and activities offered by Alderson. Her inability to hear properly is dangerous as
well.

Dr. Edwards’ hearing impairment constitutes a disability within the
meaning of BOP Program Statement 5200.05 (October 27, 2017): An impairment
that substantially limits an individual from performing major life activities. Policy
Statement 5200.05 (2.)("Types of disabilities include but are not limited to ...
hearing[.]" /d. ) Prisoners in federal prisons also are protected by §503 of the
Rehabilitation Act of 1973, 29 U.S.C. §794(a).

The BOP should provide an appropriate accommodation, in this case, a
hearing aid with functioning batteries. (Accommodations may include, but are not
limited to ... assistive devices of technologies[.]" Program Statement 5200.05 at
10, page 9.

| ask that Dr. Edwards be provided a working hearing aid immediately.

 
